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 4
     Counsel for Maria Stoner
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 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )      CR. No. 2:07-CR-0282 FCD
12                                   )
                    Plaintiff,       )      STIPULATION AND ORDER
13                                   )      VACATING HEARING DATE AND SETTING
          v.                         )      NEW BRIEFING AND HEARING SCHEDULE
14                                   )
     MARIA E. STONER,                )
15                                   )
                    Defendant.       )
16   _______________________________ )
17
18                       BACKGROUND AND STATEMENT OF COUNSEL
19             According to Diamond Reporters, the court reporter who
20   transcribed for this trial has been out of the state and, unbeknownst
21   to the agency, she did not receive the order of transcription.         They
22   have promised to have the transcript done by January 11, 2010 and
23   accordingly a new briefing schedule is necessary.         All parties are in
24   agreement with the following schedule.
25   ////
26   ////
27   ////
28   ////
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 1                                       STIPULATION
 2                IT IS HEREBY STIPULATED by and between the parties hereto
 3   that the briefing and hearing schedule be set as follows:
 4
 5                Hearing date of March 1, 2010 be vacated.
 6
 7                Transcript due:                    January 11, 2010
 8                Appellant’s Opening Brief:         February 8, 2010
 9                Respondent’s Brief:                March 8, 2010
10                Appellant’s Closing Brief:         March 22, 2010
11                Hearing date and time:             April 5, 2010 at 10:00 a.m.
12
13   Dated:    December 30, 2009
14                                                   /s/ Robert M. Holley
                                                     __________________________
15                                                   Robert M. Holley
                                                     Counsel for the Appellant
16
17                                                   /s/ Daniel McConkie (by rmh)
                                                     ___________________________
18                                                   Mr. Daniel McConkie
                                                     Assistant U.S. Attorney
19                                                   Counsel for the Respondent
20
21                                           ORDER
22   IT IS SO ORDERED.
23   Dated: January 4,2010
24                                             _______________________________________
                                               FRANK C. DAMRELL, JR.
25
                                               UNITED STATES DISTRICT JUDGE
26
27
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